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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


  LUPERCAL LLC,

                 Plaintiff                                 Case No. 6:19-cv-00201

                 v.                                        JURY TRIAL DEMANDED

  CITIBANK, N.A.,

                 Defendant



                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Lupercal LLC (“Lupercal” or “Plaintiff”) files this Complaint for patent

infringement against Defendant Citibank, N.A. (“Citibank” or “Defendant”), and alleges as

follows:

                                  NATURE OF THE ACTION

       1.       This is an action for patent infringement arising under 35 U.S.C. § 1 et seq.

                                            PARTIES

       2.       Lupercal is a limited liability company organized and existing under the laws of the

State of Texas with its principal place of business in Dallas, Texas.

       3.       Upon information and belief, Defendant, Citibank, is a New York national

chartered bank having a principal place of business in this judicial district at 7800 N. Mopac, Suite

100, Austin, TX 78759.
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                                      JURISDICTION AND VENUE

        4.       This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a).

        5.       Upon information and belief, Defendant is subject to personal jurisdiction of this

Court based upon it having regularly conducted business, including the acts complained of herein,

within the State of Texas and this judicial district and/or deriving substantial revenue from goods

and services provided to individuals in Texas and in this District.

        6.       Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400 because

Defendants have committed acts of infringement and have regular and established places of

business in this judicial district.

                                            COUNT I
                            (Infringement of U.S. Patent No. 9,386,094)

        7.       Lupercal incorporates paragraphs 1 through 6 as though fully set forth herein.

        8.       Plaintiff is the owner, by assignment, of U.S. Patent No. 9,386,094 (the “’094

Patent”), entitled SYSTEM AND METHOD FOR MEDIA SUBMISSION, which issued on July

5, 2016. A copy of the ’094 Patent is attached as Exhibit A.

        9.       The ’094 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        10.      Defendant provides the Citi Mobile App for use with Apple iOS devices and

Android devices, which is available for download from Apple’s iTunes App Store and Google

Play Apps:




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https://online.citi.com/US/JRS/portal/template.do?ID=MobileAppDownload&ProspectID=E890
1F23285543A8A579EC24F4537885




https://itunes.apple.com/us/app/citi-mobile/id301724680?mt=8




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https://play.google.com/store/apps/details?id=com.citi.citimobile&hl=en_US

        11.   Defendant controls the operation and use of the Citi Mobile App and encourages

its customers to use the Citi Mobile App to deposit checks to the customer’s accounts with

Defendant. The Defendant’s Citi Mobile App is the Accused Instrumentality through which

Defendant and its customers infringe the ’094 Patent.

        12.   At least by developing, distributing, operating, promoting, and encouraging the use

of the Citi Mobile App, Defendant encourages its customers to use the Citi Mobile App to practice

the claimed methods, which Defendant controls the use of and derives a direct benefit and profit

from.

        13.   Upon information and belief, Defendant has infringed and continues to infringe one

or more claims, including Claim 42, of the ’094 Patent by developing, distributing, operating,

promoting, and encouraging the use of the Citi Mobile App in the United States without authority.




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Defendant has infringed and continues to infringe the ’094 Patent either directly or through the

acts of inducement in violation of 35 U.S.C. § 271.

       14.     Defendant has been on notice of the ’094 Patent at least as early as January 15,

2019 when it received a notice letter from Defendant, which included a claim chart comparing the

’094 Patent claims to the Citi Mobile App.

       15.     Claim 42 recites:

               42.    A computer implemented method performed by an image submission tool

               on a user device, comprising:

                      causing the image submission tool to generate a visual representation of

                              one or more images, the visual representation enabling a user to

                              determine whether the one or more images should be replaced with

                              one or more replacement images;

                      causing the image submission tool to enable a user to enter text

                              information for association with the one or more images or the one

                              or more replacement images;

                      causing the image submission tool to pre-process the one or more images

                              or the one or more replacement images to produce one or more

                              pre-processed images, the pre-processing by the image submission

                              tool controlled by one or more pre-processing parameters received

                              from a device separate from the user device in a conversion of the

                              one or more images or the one or more replacement images as

                              specified for use by a receiving party;




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                       causing the image submission tool to enable a user to submit the one or

                              more pre-processed images; and

                       causing the image submission tool to transmit the one or more pre-

                              processed images.

          16.   The Citi Mobile App enables account holders to deposit checks electronically by

taking a photo of the front and back of the check. After selecting an account to deposit the check

to, the user enters the amount of the check.

          17.   The photo of the front and back is manually taken by the user—as a result, the

images produced may be blurry or otherwise undesirable, and the application enables the user to

retake a given photo (front or back). A visual representation of the photos is displayed on the

screen.




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https://online.citi.com/US/JRS/pands/detail.do?ID=MobileCheckDeposit&JFP_TOKEN=PYHN
V8CL




https://vimeo.com/120721104

         18.   After selecting an account to deposit the check to, the user enters the amount of the

check.




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https://vimeo.com/120721104

         19.   Upon being accepted by the user (via the Citi Mobile App), the application pre-

processes the front and back images to produce and front and back pre-processed images that is

controlled by one or more preprocessing parameters received from a device (e.g., a server used to

download the Citi Mobile App) separate from the user device (user’s smart phone) in a conversion

of the one or more images or the one or more replacement images as specified for use by a receiving

party.




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https://www.pymnts.com/in-depth/2015/how-much-do-consumers-use-mobile-check-deposit/




https://www.miteksystems.com/mobile-deposit




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http://www.abagnale.com/pdf/checks_image_file_size.pdf




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https://en.wikipedia.org/wiki/Substitute_checks_in_the_United_States

       20.    The parameters used for performing the pre-processing operations are part of the

software library code (Mitek SDK) and API code provided by Mitek and used in the Citi Mobile

App Mobile banking application.




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https://developers.miteksystems.com/

       21.    The foregoing shows the Mitek MiSnap SDK interface code use to capture the

image (top portion) and the Mitek Web Services interface (bottom portion) used for an Android

mobile banking application using the Mitek SDK (software development kit) and code library. The

image is sent as a base-64 format image to a Mitek Web Services server. The image capture

interface code using Andoids variant of Java. The Mitek Web Services uses a Java interface, and

the “InsertPhoneTransaction” is a Java object.

       22.    The following shows the Mitek MiSnap SDK interface code used to capture the

image (top portion) and then send the pre-processed image to the Mitek Web Services for further

processing (bottom portion) using an iOS application. The image capture interface code using

Apple’s Objective C language. “InsertPhoneTransaction” Java object is the same as used by the

Android application.




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       23.     The app enables the user to submit the pre-processed front and back images




       24.     Once the user hits submit, the pre-processed images are transmitted to a Mitek Web

Services server.




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       25.     The pre-processed images are first sent to a Mitek Web server to be processed using

Mitek image processing Web Services, which (substantially immediately) return images of the

front and back of the check that are compliant with the Check 21 substitute check requirements.

       26.     The Check 21 compliant images (substitute check) are then sent to a Citibank

server. The processing performed by the Mitek Web Services is transparent to the user experience

and is performed on the order of a second or less.

       27.     Lupercal has been damaged by Defendant’s infringing activities.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the Court enter judgment against

Defendant:

       1.      declaring that the Defendant has infringed the ’094 Patent;

       2.      awarding Plaintiff its damages suffered as a result of Defendant’s infringement of

               the ’094 Patent;

       3.      awarding Plaintiff its costs, attorneys’ fees, expenses, and interest; and

       4.      granting Plaintiff such further relief as the Court finds appropriate.

                                        JURY DEMAND

       Plaintiff demands trial by jury, Under Fed. R. Civ. P. 38.




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Dated: March 11, 2019                    Respectfully submitted,



                                         /s/ Raymond W. Mort, III
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